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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,                 CASE NO. 2:17-cr-20683

 v.                                      HONORABLE DENISE PAGE HOOD

 D-3 VERONICA SHARP,

           Defendant.
 ______________________________/

             ORDER DENYING DEFENDANT’S EMERGENCY
            MOTIONS FOR IMMEDIATE RELEASE [ECF No. 138]

 I.    Introduction

       On July 1, 2020, Defendant filed an Emergency Motion for Immediate Release

 [ECF No. 138. Defendant cites the threat of the spread of the Covid-19 at FCI-

 Hazelton as the basis for her motion. The Government timely filed a response in

 opposition to the Motion, and Defendant subsequently filed a supplemental letter.

 II.   Background

       In 2017, Defendant, along with co-defendants Damon Washington and Kenneth

 Gardner, conspired to rob casino patrons. Defendant would identify target patrons at

 the casino, notify her co-defendants of the target patrons, and her co-defendants would

 bump people on the highway after they left the casino in a simulated traffic accident.


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 Then, instead of exchanging insurance information when they approached the driver,

 the co-defendants would rob the targets at gunpoint.

       In September 2017, Defendant suggested they target an Asian couple she knew

 from the MGM Grand. She told her co-defendants that the couple often won a lot and

 also kept large amounts of cash with them. Washington and Defendant waited outside

 the casino in his red Dodge Charger while Gardner waited in a stolen Jeep Cherokee.

 When the couple left, Gardner and Washington followed them to Lincoln Park where

 Gardner robbed them and carjacked their Toyota minivan.

       Over the next week, Gardner, Washington, and Defendant robbed and/or

 carjacked multiple people leaving the MGM Grand. Sometimes the victims were

 targeted, but other times the victims were simply in the wrong place—near the

 casino—at the wrong time. Eventually, Defendant left the conspiracy after a fight

 with Washington. Gardner and Washington continued robbery and carjacking until

 they were caught on October 2, 2017. Defendant’s role in the scheme was not realized

 until several months later.

       In September 2018, Defendant pleaded guilty to her role in the conspiracy—a

 scheme that she instigated. At that time, Defendant blamed a gambling addiction for

 her crime and insisted that she had changed despite a long history of theft. But, five

 months later, police in Ohio stopped Defendant and three other people for a traffic


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 violation. The police discovered marijuana residue, three fake driver’s licenses, eight

 counterfeit credit cards, and instructions on how to make more. Defendant was

 charged with felony counterfeiting.

        Defendant began serving her 60-month sentence for the carjacking conspiracy

 in March 2019. She is incarcerated at FCI Hazelton in West Virginia, and her

 projected release date is May 28, 2023. Defendant is 42 years old. She has not

 identified – and her medical records with the Bureau of Prisons do not reveal – any

 underlying medical complications which would make her more vulnerable to

 Covid-19. Defendant has moved for compassionate release, complaining that FCI

 Hazelton’s failure to test her for Covid-19 poses a threat to her health and her life.

 III.   Analysis

        A court may reduce a term of imprisonment if it determines “extraordinary and

 compelling reasons warrant such a reduction.” 18 U.S.C. § 3582(c)(1)(A). A court

 also must weigh the sentencing factors set forth in 18 U.S.C. § 3553(a) and determine

 if a sentence reduction “is consistent with applicable policy statements issued by the

 Sentencing Commission.” Id. U.S. Sentencing Guidelines Manual § 1B1.13 (U.S.

 Sentencing Comm’n 2018) is the “applicable policy statement[]” with which courts

 must comply. 18 U.S.C. § 3582(c)(1)(A).

        Section 1B1.13 of the Sentencing Guidelines states that a defendant must “not


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 [be] a danger to the safety of any other person or to the community” under 18 U.S.C.

 § 3142(g) and limits compassionate release to a narrow group of defendants who

 satisfy at least one of four categories of “extraordinary and compelling reasons.”

 Those four categories are based upon: (1) the inmate’s medical condition; (2) the

 inmate’s age; (3) the inmate’s family circumstances; and (4) other reasons “[a]s

 determined by the Director of the Bureau of Prisons,” which the Bureau of Prisons has

 set forth in Program Statement 5050.50.1 U.S.S.G. § 1B1.13 cmt. n.1. See also United

 States v. Sapp, Case No. 14-20520, 2020 WL 515935, at *2 (E.D. Mich. Jan. 31,

 2020) (Leitman, J.) (summarizing compassionate release requirements).

        “Extraordinary” is defined as “exceptional to a very marked extent.” Webster’s

 Third International Dictionary, Unabridged (2020). “Compelling” is defined as

 “tending to convince or convert by or as if by forcefulness of evidence.” Id. A court

 in the Eastern District of Michigan has described the requirements of “‘extraordinary’

 as beyond what is usual, customary, regular, or common,” and “‘compelling reason’

 as one so great that irreprovable harm or injustice would result if the relief is not

 granted.” See Sapp, 2020 WL 515935, at *3 (citations removed). And, as the Tenth


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          The BOP has released Program Statement 5050.50 to guide its determination of
 extraordinary and compelling circumstances. Federal Bureau of Prisons, U.S. Department of
 Justice, Program Statement 5050.50: Compassionate Release/Reduction in Sentence: Procedures
 for Implementation of 18 U.S.C. §§ 3582 and 4205(g) (2019). See also 18 U.S.C. §
 3582(c)(1)(A).

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 Circuit recently explained, a district court “lack[s] jurisdiction” to grant

 compassionate release when a defendant’s circumstances do not fall within those

 categories. Saldana, 2020 WL 1486892, at *3.

         In United States v. Waseem Alam, the Sixth Circuit Court of Appeals affirmed

 the district court’s dismissal of the defendant’s motion for compassionate release. 960

 F.3d 831 (6th Cir. 2020). Defendant Alam sent a letter to the warden on March 25,

 2020 requesting compassionate release. He did not wait for a response. Instead, Alam

 filed a motion for emergency relief in district court. The district court dismissed his

 motion because Alam failed to comply with the compassionate-release statute’s

 administrative exhaustion requirement, 18 U.S.C. § 3582(c)(1)(A). The Court Appeals

 affirmed the district court’s decision because Alam waited just 10 days after the

 warden’s receipt of his request to file his motion in federal court, not the required 30

 days.

         In its analysis, the Sixth Circuit held that exhaustion is a mandatory condition,

 stating:

         Alam asks us to overlook [his failure to exhaust] by finding the
         requirement non-mandatory or by fashioning an exception of our own.
         But because this exhaustion requirement serves valuable purposes (there
         is no other way to ensure an orderly processing of applications for early
         release) and because it is mandatory (there is no exception for some
         compassionate-release requests over others), we must enforce it.

 Alam, 960 F.3d at 832. In other words, a district court cannot excuse a defendant’s

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 failure to satisfy the 30 day requirement pursuant to 18 U.S.C. § 3582(c)(1)(A).

       The Court finds that Defendant has failed to exhaust her remedies. Defendant

 has not alleged or presented evidence that she exhausted her administrative appeals

 within the BOP or that she waited thirty days after submitting a compassionate release

 request to the warden of her detainment facility. 18 U.S.C. § 3582(c)(1)(A). As

 Defendant has not satisfied § 3582(c)(1)(A)’s mandatory exhaustion requirement, her

 claim is not ripe. The plain text of 18 U.S.C. § 3582(c)(1)(A) states that Defendant

 must either exhaust all administrative appeals or wait thirty days; Defendant has done

 neither. Alam, supra. See also Grand Trunk W. R.R. Co. v. U.S. Dep’t of Labor, 875

 F.3d 821, 824 (6th Cir. 2017) (quoting King v. Burwell, 135 S.Ct. 2480, 2489 (2015))

 (“If the statutory language is plain, we must enforce it according to its terms.”). For

 this reason, the Court denies without prejudice Defendant’s Emergency Motion for

 Immediate Release.

       The Court also finds that Defendant does not fall into any of the “extraordinary

 and compelling reasons” categories. She is young (42 years old) and has not identified

 any underlying health conditions. It is not the Court’s role to speculate as to whether

 Defendant: (a) has a sufficiently serious medical condition that puts her at risk during

 the Covid-19 pandemic; or (b) if there are any other extraordinary or compelling

 reasons for her release. And, it is widely recognized that the Covid-19 pandemic does


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 not, in itself, qualify as the type of inmate-specific reason permitting compassionate

 release. See, e.g., United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). As

 the Raia court stated, “the mere existence of Covid-19 in society and the

 possibility that it may spread to a particular prison alone cannot independently justify

 compassionate release, especially considering the BOP’s statutory role, and its

 extensive and professional efforts to curtail the virus’s spread.” Id.2

        For the reasons set forth above, the Court concludes that nothing in the statute

 or U.S.S.G. § 1B1.13 supports the interpretation of § 3582(c)(1)(A) that Defendant

 seeks from this Court. See Raia, 954 F.3d at 597. The Court finds that Defendant’s

 circumstances are not “extraordinary and compelling,” 18 U.S.C. § 3582(c)(1)(A), and

 immediate release of Defendant is not warranted. Accordingly, the Court also denies

 the Motion on this substantive basis.




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         Because Defendant has not demonstrated an “extraordinary and compelling” reason for
 granting compassionate release, the Court does not address whether Defendant would be “a
 danger to the safety of any other person or to the community” under 18 U.S.C. § 3142(g).

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 IV.   Conclusion

       Accordingly,

       IT IS ORDERED that Defendant’s Emergency Motion for Immediate Release

 [ECF No. 138] is DENIED.


                                    s/Denise Page Hood
                                    DENISE PAGE HOOD
 Dated: October 2, 2020             UNITED STATES DISTRICT JUDGE




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